                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 JOHN DOES #1-3,                                   )
                                                   )
         Plaintiff,                                )
                                                   )
 v.                                                )    NO. 3:19-cv-00532
                                                   )
 WILLIAM B. LEE, Governor of the                   )
 State of Tennessee, in his official               )
 capacity, et al.,                                 )
                                                   )
         Defendants.                               )

                          MEMORANDUM OPINION AND ORDER

        Before the Court is Defendants’ Motion for Stay of Proceedings and supporting

Memorandum of Law (Doc. No. 37 and 38) through June 30, 2020, while the Tennessee General

Assembly considers House Bill 1583 and Senate Bill 1568. These bills seek to amend Tenn. Code

Ann. § 40-39-211 by deleting subsection (c)(3), which Plaintiffs claim to be unconstitutional in

this case. Plaintiffs have responded in opposition to the stay (Doc. No. 39), and Defendants have

replied (Doc. No. 41).

        Defendants claim that “these bills are being sponsored by the same legislators who

sponsored the bills that ultimately became Public Chapter No. 374,” and that “[i]f the Tennessee

General Assembly enacts either bill, such action would render this case moot.” (Doc. No. 37 at 2-

3.) In opposing the stay, Plaintiffs express concerns about the motivation behind this proposed

legislation, the likelihood it will be enacted, and the uncertainty of whether “other bills might be

enacted in this legislative session that affect the issues in this case.” (Doc. No. 39 at 1-2.) In the

interim, the Court’s Temporary Restraining Order remains in effect to enjoin “Defendants, their

officers, agents, employees, servants, attorneys, and all persons in active concert or participation




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with them, are hereby enjoined and restrained from enforcing” Tenn. Code Ann. § 40-39-

211(c)(3). (Doc. Nos. 10, 17.)

       “A stay is not a matter of right, even if irreparable injury might otherwise result.” Nken v.

Holder, 556 U.S. 418, 433 (2009) (citation omitted). Nevertheless, “[t]he power to stay

proceedings is incidental to the power inherent in every court to control the disposition of the

causes in its docket with economy of time and effort for itself, for counsel and for litigants, and

the entry of such an order ordinarily rests with the sound discretion of the District Court.” F.T.C.

v. E.M.A. Nationwide, Inc., 767 F.3d 611, 626-27 (6th Cir. 2014) (citation omitted).

       “[T]he propriety of its issue is dependent upon the circumstances of the particular case,”

and “[t]he party requesting a stay bears the burden of showing that the circumstances justify an

exercise of that discretion.” Nken, 556 U.S. at 433-34 (citations omitted). “In exercising its

substantial discretion to determine whether to grant a stay, a district court generally considers (1)

any prejudice to the non-moving party if a stay is granted, (2) any prejudice to the moving party if

a stay is not granted, and (3) the extent to which judicial economy and efficiency would be served

by the entry of a stay.” Tennessee ex rel. Cooper v. McGraw-Hill Cos., Inc., No. 3:13-00193, 2013

WL 1785512, at *6 (M.D. Tenn. Apr. 25, 2013) (quoting, In re Honda of America Mfg., Inc.

ERISA Fees Litigation, No. 2:08-cv-1059 GLF-TPK, 2009 WL 700696 at *1 (S.D. Ohio 2009))

(internal quotation marks omitted).

       Here, those factors weigh heavily in favor of a stay. While the Tennessee General

Assembly considers House Bill 1583 and Senate Bill 1568, Defendants remain subject to the

Temporary Restraining Order preventing them from enforcing Tenn. Code Ann. § 40-39-211(c)(3)

against Plaintiffs, and thus neither party will be prejudiced by a stay. Moreover, the most efficient

use of the Court’s and the parties’ resources is to temporarily stay all proceedings and deadlines



                                                 2

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in this case. Otherwise, as Defendants correctly note, all parties and the Court risk engaging in

unnecessary litigation and class discovery with the possibility that the entire action would be

mooted by the Tennessee General Assembly enacting these bills.

          Accordingly, Defendants’ Motion for Stay of Proceedings (Doc. No. 37) is GRANTED,

and this case is hereby STAYED PENDING FURTHER ORDER of the Court. On or before

June 30, 2020, the parties shall FILE a status report on the progress of the pending legislation

regarding Tenn. Code Ann. § 40-39-211(c)(3), and the need for further proceedings in this Court,

if any. The Court’s Temporary Restraining Order (Doc. Nos. 10, 17) remains in effect.

          Given the stay ordered herein, Plaintiffs’ Motion to Certify Rule 23(b)(2) Class (Doc. No.

4) 1 and Plaintiffs’ Motion for Leave to File Partial Summary Judgment Motion on Ex Post Facto

Claim (Doc. No. 40) are DENIED WITHOUT PREJUDICE to them being re-filed if the stay is

lifted.

          IT IS SO ORDERED.



                                               ____________________________________
                                               WAVERLY D. CRENSHAW, JR.
                                               CHIEF UNITED STATES DISTRICT JUDGE




1
 The Magistrate Judge authorized the parties to conduct additional class discovery by February
28, 2020, and permitted Plaintiffs to file an amended class certification motion by March 13, 2020.
(Doc. No. 34 at 3-4.) Thus, in the likely event that Plaintiffs filed an amended motion, Plaintiffs’
Motion to Certify Rule 23(b)(2) would have been denied as moot.
                                                  3

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